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and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               Chapter 11

PURDUE PHARMA L.P.,                                  Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

PURDUE PHARMA INC.,                                  Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

PURDUE TRANSDERMAL TECHNOLOGIES                      Case No. 19-[     ](RDD)
L.P.,

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
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In re:                                               Chapter 11

PURDUE PHARMA MANUFACTURING L.P.,                    Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

PURDUE PHARMACEUTICALS L.P.,                         Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

IMBRIUM THERAPEUTICS L.P.,                           Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

ADLON THERAPEUTICS L.P.,                             Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

GREENFIELD BIOVENTURES L.P.,                         Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX



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In re:                                                                Chapter 11

SEVEN SEAS HILL CORP.,                                                Case No. 19-[       ](RDD)

                    Debtor.

No Fed. Tax Id.1


In re:                                                                Chapter 11

OPHIR GREEN CORP.,                                                    Case No. 19-[       ](RDD)

                    Debtor.

No Fed. Tax. Id.2


In re:                                                                Chapter 11

PURDUE PHARMA OF PUERTO RICO,                                         Case No. 19-[       ](RDD)

                    Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                                Chapter 11

AVRIO HEALTH L.P.,                                                    Case No. 19-[       ](RDD)

                    Debtor.

Fed. Tax Id. No. XX-XXXXXXX




1
    Seven Seas Hill Corp. does not have a Federal Tax ID. The relevant non-U.S. tax identification number is 424591.
2
    Ophir Green Corp. does not have a Federal Tax ID. The relevant non-U.S. tax identification number is 424594.

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In re:                                                Chapter 11

PURDUE PHARMACEUTICAL PRODUCTS                        Case No. 19-[     ](RDD)
L.P.,

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

PURDUE NEUROSCIENCE COMPANY,                          Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

NAYATT COVE LIFESCIENCE INC.,                         Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

BUTTON LAND L.P.,                                     Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

RHODES ASSOCIATES L.P.,                               Case No. 19-[     ](RDD)

               Debtor.

No Fed. Tax Id.


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In re:                                               Chapter 11

PAUL LAND INC.,                                      Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX



In re:                                               Chapter 11

QUIDNICK LAND L.P.,                                  Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

RHODES PHARMACEUTICALS L.P.,                         Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

RHODES TECHNOLOGIES,                                 Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                               Chapter 11

UDF LP,                                              Case No. 19-[     ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


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In re:                                                    Chapter 11

SVC PHARMA LP,                                            Case No. 19-[    ](RDD)

                Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                    Chapter 11

SVC PHARMA INC.,                                          Case No. 19-[    ](RDD)

                Debtor.

Fed. Tax Id. No. XX-XXXXXXX



              MOTION OF DEBTORS FOR ENTRY OF AN ORDER DIRECTING
                   JOINT ADMINISTRATION OF CHAPTER 11 CASES

         Purdue Pharma L.P. (“PPLP”) and its affiliates that are debtors and debtors in possession

in these proceedings (collectively, the “Debtors,” the “Company” or “Purdue”) hereby move

(this “Motion”) this Court for entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”), granting the relief described below. In support thereof, the Debtors

refer to the contemporaneously filed Declaration of Jon Lowne in Support of the Debtors’

Chapter 11 Petitions and First Day Pleadings (the “Lowne Declaration”) and further represent

as follows:

                                     Jurisdiction and Venue

         1.     The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference M-431, dated January 31, 2012

(Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b) and, pursuant to Rule

7008 of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”), the Debtors

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consent to entry of a final order by the Court in connection with this Motion to the extent that it

is later determined that the Court, absent consent of the parties, cannot enter a final order or

judgment consistent with Article III of the United States Constitution. Venue is proper before

the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            Background

       2.      On the date hereof (the “Petition Date”), the Debtors each commenced with this

Court a voluntary case under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). The Debtors are authorized to operate their businesses and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. To date, the Office of the United States Trustee for the Southern District of New York

(the “U.S. Trustee”) has not appointed a statutory committee of creditors in these chapter 11

cases, nor has the Court appointed a trustee or examiner therein.

       3.      Additional information about the Debtors’ businesses and the events leading up to

the Petition Date can be found in the Debtors’ Informational Brief filed contemporaneously

herewith.

                                         Relief Requested

       5.      By this Motion, the Debtors seek entry of an Order directing joint administration

of these cases for procedural purposes only, pursuant to Bankruptcy Rule 1015(b).

       6.      Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more petitions

are pending in the same court by or against . . . a debtor and an affiliate, the court may order a

joint administration of the estates.” The Debtors are “affiliates” as that term is defined under

section 101(2) of the Bankruptcy Code. Accordingly, this Court is authorized to grant the

requested relief by virtue of the fact that PPLP is the direct or indirect parent of each of the other

Debtors other than Purdue Pharma Inc., which is PPLP’s general partner.
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         7.    On the date hereof, the Debtors commenced the 24 chapter 11 cases referenced

above by filing petitions for voluntary relief with this Court. Given the provisions of the

Bankruptcy Code and the Debtors’ affiliation, joint administration of these cases is warranted.

Joint administration will avoid the preparation, replication, service and filing, as applicable, of

duplicative notices, applications and orders, thereby saving the Debtors considerable expense

and resources. The Debtors’ financial affairs and business operations are closely related. Many

of the motions, hearings and orders in these chapter 11 cases will affect each Debtor and their

respective estates. The rights of creditors will not be adversely affected, as this Motion requests

only administrative, and not substantive, consolidation of the estates. Moreover, each creditor

can still file its claim against a particular estate. In fact, all creditors will benefit by the reduced

costs that will result from the joint administration of these chapter 11 cases. The Court also will

be relieved of the burden of entering duplicative orders and maintaining duplicative files.

Finally, supervision of the administrative aspects of these chapter 11 cases by the U.S. Trustee

will be simplified.

         8.    Accordingly, the Debtors respectfully request that the caption of their cases be

modified to reflect the joint administration of these chapter 11 cases, as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                   Chapter 11

PURDUE PHARMA L.P., et al.,                              Case No. 19-[      ](RDD)

               Debtors.                                  (Jointly Administered)




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       9.      The Debtors also seek the Court’s direction that a notation substantially similar to

the following be entered on the docket of each of the Debtors’ chapter 11 cases to reflect the

joint administration of these cases:

       An Order has been entered in this case directing the procedural consolidation and
       joint administration of the chapter 11 cases of Purdue Pharma L.P., Purdue
       Pharma Inc., Purdue Transdermal Technologies L.P., Purdue Pharma
       Manufacturing L.P., Purdue Pharmaceuticals L.P., Imbrium Therapeutics L.P.,
       Adlon Therapeutics L.P., Greenfield BioVentures L.P., Seven Seas Hill Corp.,
       Ophir Green Corp., Purdue Pharma of Puerto Rico, Avrio Health L.P., Purdue
       Pharmaceutical Products L.P., Purdue Neuroscience Company, Nayatt Cove
       Lifescience Inc., Button Land L.P., Rhodes Associates L.P., Paul Land Inc.,
       Quidnick Land L.P., Rhodes Pharmaceuticals L.P., Rhodes Technologies, UDF
       LP, SVC Pharma LP and SVC Pharma Inc. The docket in Case
       No. 19-[ ](RDD) should be consulted for all matters affecting this case.
       10.     Finally, the Debtors seek authority to file the monthly operating reports required

by the U.S. Trustee’s “Operating Guidelines and Financial Reporting Requirements” on a

consolidated basis.

                                              Notice

       11.     Notice of this Motion will be provided to: (a) the U.S. Trustee; (b) each of the

Debtors’ fifty largest unsecured creditors on a consolidated basis; (c) each of the Debtors’ three

largest secured creditors on a consolidated basis; (d) the Internal Revenue Service; (e) the United

States Department of Justice; (f) the United States Attorney’s Office for the Southern District of

New York; (g) the attorneys general for all fifty states and the District of Columbia; and (h) any

party that has requested notice pursuant to Bankruptcy Rule 2002 (collectively, the

“Notice Parties”). Based on the urgency of the circumstances surrounding this Motion and the

nature of the relief requested herein, the Debtors respectfully submit that no further notice is

required.




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                                      No Previous Request

       12.     No previous request for the relief sought herein has been made by the Debtors to

this or any other court.

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         WHEREFORE, the Debtors respectfully request that the Court grant the relief requested

herein and such other and further relief as is just and proper.

Dated:    September 15, 2019
          New York, New York


                                               DAVIS POLK & WARDWELL LLP

                                               By: /s/ Eli J. Vonnegut


                                               450 Lexington Avenue
                                               New York, New York 10017
                                               Telephone: (212) 450-4000
                                               Facsimile: (212) 701-5800
                                               Marshall S. Huebner
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                                               Eli J. Vonnegut

                                               Proposed Counsel to the Debtors
                                               and Debtors in Possession




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                                        Exhibit A

                                  Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                Chapter 11

PURDUE PHARMA L.P.,                                   Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

PURDUE PHARMA INC.,                                   Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

PURDUE TRANSDERMAL TECHNOLOGIES                       Case No. 19-[    ](RDD)
L.P.,

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

PURDUE PHARMA MANUFACTURING L.P.,                     Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX
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In re:                                                 Chapter 11

PURDUE PHARMACEUTICALS L.P.,                           Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

IMBRIUM THERAPEUTICS L.P.,                             Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

ADLON THERAPEUTICS L.P.,                               Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

GREENFIELD BIOVENTURES L.P.,                           Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

SEVEN SEAS HILL CORP.,                                 Case No. 19-[    ](RDD)

               Debtor.

No Fed. Tax Id.



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In re:                                                 Chapter 11

OPHIR GREEN CORP.,                                     Case No. 19-[    ](RDD)

               Debtor.

No Fed. Tax Id.


In re:                                                 Chapter 11

PURDUE PHARMA OF PUERTO RICO,                          Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

AVRIO HEALTH L.P.,                                     Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

PURDUE PHARMACEUTICAL PRODUCTS                         Case No. 19-[    ](RDD)
L.P.,

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

PURDUE NEUROSCIENCE COMPANY,                           Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


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In re:                                                 Chapter 11

NAYATT COVE LIFESCIENCE INC.,                          Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

BUTTON LAND L.P.,                                      Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

RHODES ASSOCIATES L.P.,                                Case No. 19-[    ](RDD)

               Debtor.

No Fed. Tax Id.


In re:                                                 Chapter 11

PAUL LAND INC.,                                        Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                 Chapter 11

QUIDNICK LAND L.P.,                                    Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX



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In re:                                                Chapter 11

RHODES PHARMACEUTICALS L.P.,                          Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

RHODES TECHNOLOGIES,                                  Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

UDF LP,                                               Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

SVC PHARMA LP,                                        Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX


In re:                                                Chapter 11

SVC PHARMA INC.,                                      Case No. 19-[    ](RDD)

               Debtor.

Fed. Tax Id. No. XX-XXXXXXX



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                                    ORDER DIRECTING
                        JOINT ADMINISTRATION OF CHAPTER 11 CASES

           Upon the motion (the “Motion”)1 of the Debtors for entry of an order (this “Order”)

pursuant to Bankruptcy Rule 1015(b) directing the joint administration of the Debtors’ chapter

11 cases for procedural purposes only; and the Court having jurisdiction to consider the Motion

and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and consideration of

the Motion and the relief requested therein being a core proceeding under 28 U.S.C. § 157(b);

and venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

proper notice of the Motion having been provided to the Notice Parties, and it appearing that no

other or further notice need be provided; and the Court having reviewed the Motion and held a

hearing to consider the relief requested in the Motion (the “Hearing”); and upon the Lowne

Declaration, filed contemporaneously with the Motion, and the record of the Hearing; and the

Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court and after due deliberation and sufficient cause appearing therefor;

           IT IS HEREBY ORDERED THAT

           1.       The relief requested in the Motion is hereby granted as set forth herein.

           2.       Pursuant to Bankruptcy Rule 1015(b), the above-captioned chapter 11 cases are

consolidated for procedural purposes only and shall be jointly administered by the Court.

           3.       Nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of any of the above-captioned cases.



1
    Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to such term in the Motion.

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         4.     The caption of the jointly administered cases shall read as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  Chapter 11

PURDUE PHARMA L.P., et al.,                             Case No. 19-[    ](RDD)

                Debtors.                                (Jointly Administered)


         5.     The Debtors also seek the Court’s direction that a notation substantially similar to

the following be entered on the docket of each of the Debtors’ chapter 11 cases to reflect the

joint administration of these cases:

         An Order has been entered in this case directing the procedural consolidation and
         joint administration of the chapter 11 cases of Purdue Pharma L.P., Purdue
         Pharma Inc., Purdue Transdermal Technologies L.P., Purdue Pharma
         Manufacturing L.P., Purdue Pharmaceuticals L.P., Imbrium Therapeutics L.P.,
         Adlon Therapeutics L.P., Greenfield BioVentures L.P., Seven Seas Hill Corp.,
         Ophir Green Corp., Purdue Pharma of Puerto Rico, Avrio Health L.P., Purdue
         Pharmaceutical Products L.P., Purdue Neuroscience Company, Nayatt Cove
         Lifescience Inc., Button Land L.P., Rhodes Associates L.P., Paul Land Inc.,
         Quidnick Land L.P., Rhodes Pharmaceuticals L.P., Rhodes Technologies, UDF
         LP, SVC Pharma LP and SVC Pharma Inc.                     The docket in Case
         No. 19-[ ](RDD) should be consulted for all matters affecting this case.
         6.     The contents of the Motion and the notice procedures set forth therein are good

and sufficient notice and satisfy the Bankruptcy Rules and the Local Bankruptcy Rules for the

Southern District of New York, and no other or further notice of the Motion or the entry of this

Order shall be required.



White Plains, New York
Dated:             , 2019

                                                     THE HONORABLE ROBERT D. DRAIN
                                                     UNITED STATES BANKRUPTCY JUDGE

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